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October 19, 2019

Alma Rosales

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Food and Nutrition Service

Office of Civil Rights

3101 Park Center Drive Rm 1200

Alexandria, VA 22302-1594

RE: 2019-COR-11938

My name is Raul Mendez and I'm Alma Rosales son. I'm writing this complaint on her behalf
because of language limitations and her medical conditions. I would like to apologize in advance
for sending you the additional information you requested close to the deadline, People in my
mother's position cannot adequately represent themselves in preparing complaints/appeals. There
are no helpful resources in Idaho that would assist them in preparing the information and would
need to rely on family or someone willing to be an advocate.

My mother is on Social Security Disability and the low-income allows her to get Food stamp
benefits. My mother has seen her benefits decrease significantly over the past two years going
from $193 to$117. SEE pgs 1-19 of NOTICES. The Idaho Department of Health and
Welfare has given a myriad of reasons for the continued decrease of benefits but usually along the
lines that my mother has had changes in income or the latest one has been that Federal guidelines
have decreased. I would note too that the decrease in Federal guidelines has been the same reason

my grandmother has received for her decrease in benefits. Presumably, all food stamp recipients

in Idaho have had their benefits decreased due to a decrease in the Federal guidelines,

On 9/6/2019, my mother received a ‘Notice’ explaining that her benefits will be decreasing to $117

 
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starting October 2019, The reason is 'the result of a change in the expenses indicated for your
family,’ It is worth pointing out that the notices are very vague and due process requires having
"clear standards' that would apprise people of the action in order to adequately prepare an appeal.
I contacted the IDHW to ask further information. SEE 9/15/2019 EMAIL. I told the IDHW
that my mom had not reported any changes and that nothing had changed since the last time.
Furthermore, I asked for an answer without going thru an appeal and if not to consider the email a

‘request for a hearing.’

The IDHW ‘notices’ note under the rights for a hearing that in order to request a 'Fair Hearing’ to
call 1-877-456-1233 or email mybenefits@idhw.idaho.gov. The IDHW replied on 9/17/2019 and
stated that "please be advised the Federal guidelines for the SNAP program are changing in
October 2019." Furthermore, every year in October the guidelines change, income and expenses,
this year the amount of credit allowed for utilities has decreased causing the decrease in benefits,

SEE 9/17/2019 851AM EMAIL.

I replied to the IDHW and asked for further clarification. Specifically, I requested copies of the
Federal guidelines from last year and this year along with clarification on how benefits changed

due to the guidelines. SEE 9/17/2019 914AM EMAIL.

The IDHW responded to my request for copies of the Federal guidelines by stating that ‘we are
unable to find your name in our system!' and requested the name, DOB and address. Notably, the
IDHW was not able to find my mother’s name on the same day I requested the guidelines. SEE
9/17/2019 142PM EMAIL, I provided the requested information to the IDHW the same day.
SEE 9/17/2019 921PM EMAIL, I provided the requested information again along with the case

number and I requested a copy of the guidelines showing decrease, SEE 9/19/2019 423AM

 
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EMAIL.

I received no replies from the IDHW to the case information provided that they had requested on

9/17/2019, no response to the request for Federal guidelines from last year and this year showing

decrease, or a ‘fair hearing' after one was requested. I contacted the FNS San Francisco office and
the OCR email for the USDA on 9/19/2019 and explained that the IDHW has taken away both my
mother's food stamps and Medicaid at the same time. Noting that initially the food stamps were

decreased, and later the IDHW stated they could not find her in the system. SEE 9/19/2019

933PM EMAIL.

I contacted the IDHW again on 9/27/2019 because no response had been received either via email,
phone or regular mail since 9/17/2019. Again, I requested a copy of the guidelines from last year
and this year due to the fact the reason for decreasing the benefits was due to a decrease in the

guidelines. I also requested a hearing yet again. SEE 9/27/2019 601PM EMAIL.

T contacted the FNS San Francisco office on 10/2/2019. They had advised me previously that the
IDHW was the administrator of the program and all the Federal government could do was to
facilitate communication with the State. I had not heard back from the IDHW with the status of
the food stamps since 9/17/2019. No Notice of Hearing being set and it appears that in fact the
Federal guidelines did not decrease and instead of providing the documentation the IDHW decided

to take away the food stamps. SEE 10/2/2019 211PM EMAIL.

I contacted the IDHW again to request a 'Fair Hearing! noting that multiple requests for one has

been made. SEE 10/3/2019 832AM EMAIL.

The IDHW finally responded to my mother on 10/3/2019 (presumably after finding her in the

system) by providing an ‘explanation’ for the decrease in benefits. The message is in Spanish

 
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which is basically letting her know that her benefits have decreased from 121 to 117 due to the
alleged changes in guidelines for utilities expense and the attached three notices explain that.
Furthermore, a hearing could be requested. However, the IDHW did not provide the requested
copies of the Federal guidelines from last year and this year used to decrease the benefits. SEE
pg lof NOTICES. I requested a hearing yet again on the same day and as of the writing of this
complaint the IDHW has not set a ‘fair hearing! or provided a copy of the guidelines, presumably
because their Administrative rules are only applicable to arbitrarily deny participants their

constitutionally protected rights.
CONCLUSION

Matters of discrimination involve 1) intent and 2) whether there is a legitimate administrative
reason for the adverse action in decreasing benefits. The IDHW alleges that their legitimate
reason for decreasing the food stamps is due to decrease in the Federal guidelines, However, I
have been requesting a copy of the public record used to take the adverse action, requesting a fair
hearing and in fact after requesting the information the IDHW stated that she was not in their
system. The IDHW has not set a hearing nor provided the Federal guidelines. It is worth noting
that they also took away Medicaid without a legitimate reason or notice, In fact, there is a recent
precedent in the Medicaid class action suit involving disabled participants in which judgment was
entered against the IDHW precisely because denying benefits without adequate due process. Itis
not a coincidence that they are denying benefits to my disabled mother. The IDHW as an
administrator of Federal programs has a pattern of discriminatory conduct towards disabled

people.

Sincerely, .

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